                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF LOUISIANA
                                  Lafayette Division


IN RE:                                                      CASE NO. 19-51367

J-H-J, Inc., et al.                                         CHAPTER 11

        DEBTORS                                             JOINTLY ADMINISTERED


        EMERGENCY MOTION FOR INTERIM ORDER AUTHORIZING
  THE DEBTORS’ USE OF CASH COLLATERAL AND SETTING FINAL HEARING

        NOW INTO COURT, through undersigned counsel, come JHJ, Inc., Lafayette Piggly

Wiggly, LLC, T.H.G. Enterprises, LLC, SVFoods Old Hammond, LLC, SVFoods Jefferson, LLC,

T&S Markets, LLC, TSD Markets, LLC, Baker Piggly Wiggly, LLC, and BR Pig, LLC, as debtors

and debtors-in-possession (collectively, the “Debtors”), which pursuant to Sections 11 U.S.C.

§105, 363 and 364 and Rules 2002, 4001(b),(c) and (d) and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), hereby move (the “Motion”) this Court for entry

of interim and final orders authorizing the Debtors to use cash and accounts receivable which may

be “cash collateral” and providing adequate protection for same, and scheduling a final hearing on

the Motion pursuant to Federal Rule of Bankruptcy Procedure 4001.

                                                1.

                                        JURISDICTION

        This Court has jurisdiction over the Chapter 11 Cases and the Motion pursuant to 28 U.S.C.

§§ 157(b) and 1334. Consideration of the Motion constitutes a core proceeding as defined in 28

U.S.C. § 157(b)(2).




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                                               2.

                                       BACKGROUND

       On November 15, 2019 (the "Petition Date"), the Debtors each filed a voluntary petition

for relief under Chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”). The

Debtors continue to operate their businesses and manage their property as debtors-in-possession

pursuant to 11 U.S.C. §§ 1107 and 1108. No trustee or examiner has been appointed in these

Bankruptcy Cases.

                                               3.

       Collectively, the Debtors own and operate twelve (12) retail grocery stores and employ

over 600 workers in south Louisiana (“Stores”) under the names Shoppers Value Foods or Food

Depot. The Stores are located in the Baton Rouge and Lafayette metropolitan areas, as well as in

Bogalusa and Jefferson, Louisiana.

                                               4.

       The Debtors, along with other related entities (“Related Entities”), SVFoods Walker, LLC,

SVFoods Avondale, LLC, SVFoods Harvey, LLC, SVFoods Westwego, LLC, SVFoods Big Pic,

LLC, SVFoods Little Pic, LLC, and, TSJ Markets, LLC, are co-debtors on certain obligations

owed to SuperValu, currently in an asserted principal amount exceeding $7 million

(“Indebtedness”). Specifically, the Debtors are indebted to SuperValu under the terms of multiple

promissory notes, issued between May 2016 and November 2018 (“Notes”). Such indebtedness

is secured by liens in favor of SuperValu affecting the Debtors’ accounts receivable, inventory,

equipment and general intangibles. The vast majority of the Indebtedness was incurred for the

purpose of purchasing inventory for multiple grocery stores (“WD Stores”) formerly operating




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under the name Winn-Dixie. Six WD Stores were acquired from the Southeastern Grocers

bankruptcy estate in 2018. Of the WD Stores, only one remains in operation today, i.e., the WD

Store owned by SVFoods Jefferson, LLC.

        The Notes ultimately became in default and the Debtors and SuperValu had, for several

months preceding the bankruptcy, been engaged in discussions regarding resolution thereof.

                                                 5.

                                     RELIEF REQUESTED

        Through this Motion, the Debtors seek this Court's authorization to use cash which may be

“cash collateral” as defined in 11 U.S.C. § 363(a) pursuant to sections 363(b)(2), (3) and (4) and

Rule 4001(b), and provide adequate protection thereof retroactive to the Petition Date.

                                                 6.

        In addition, the Debtors are seeking an immediate emergency preliminary hearing on the

Motion to consider entry of an interim order pursuant to Bankruptcy Rule 4001 approving the use

of Cash Collateral and adequate protection for same as to SuperValu retroactive to the Petition

Date.

                                                 7.

        The Debtors are further requesting that a final hearing (“Final Hearing”) be scheduled on

the use of cash collateral and adequate protection therefore, and that notice procedures in respect

of the final hearing be established by this Court to consider entry of a final order (“Final Order”)

granting this Motion.




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                                                       8.

        The Debtors require use of the proceeds of all accounts receivable and cash on hand and in

their bank accounts in the ordinary course of the Debtors’ businesses to pay the expenses of

operations incurred. Upon information and belief, SuperValu contends that the proceeds of all

accounts receivable and the cash on hand and in bank accounts are collateral for the Indebtedness,

and that SuperValu would be entitled to adequate protection for any use of the proceeds of all

accounts receivable and cash on hand and in deposit accounts.

                                                       9.

        The Debtors show that the Indebtedness asserted by SuperValu is approximately $7

million. In addition, SuperValu may be eligible to assert a potential claim under PACA1 for

outstanding payments owed on account of qualifying perishable inventory. Under PACA, eligible

produce suppliers are the beneficiaries of a statutory trust (the “PACA Trust”) in the buyer’s

applicable inventory and related sale proceeds. See 7 U.S.C. § 499e(c)(2). Assets of the PACA

Trust are preserved as a non-segregated, floating trust and may be commingled with non-trust

assets. 7 CFR 46.46(b). PACA Trust claims are senior to claims and liens of other creditors. See,

e.g., Tom Lange Co., Inc. v. Kornblum & Co., Inc. (In re Kornblum & Co., Inc.), 81 F.3d 280, 286

(2d Cir. 1996).

        The Debtors maintain that the value of any PACA Trust assets far exceeds the amount of

any PACA claim that may be asserted against the estates. The Debtors further aver that the

collateral allegedly securing the debt to SuperValu, including the cash accounts, inventory and


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 A certain portion of the merchandise sold in the Debtors’ grocery stores may qualify as “perishable agricultural
commodit[ies]” under the Perishable Agricultural Commodities Act of 1930, as amended, 7 U.S.C. §§ 499a et seq.
(“PACA”).




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equipment, exceeds the Indebtedness. However, to the extent that the proceeds of all accounts

receivable and cash on hand and in bank accounts constitute cash collateral and SuperValu’s liens

thereon are not subject to avoidance or subordination and adequate protection is determined to be

required, the Debtors propose to grant SuperValu a replacement lien on the Debtors’ post-petition

accounts receivable, inventory and cash on hand, retroactive to the Petition Date, as adequate

protection for the Debtors’ use of the proceeds of all accounts receivable and the cash on hand and

in deposit accounts to the extent that same constitute cash collateral, and only to the extent of the

actual diminution of the value of SuperValu’s valid, enforceable security interests in the Debtors'

assets.

                                                   10.

          Notwithstanding the granting of the replacement lien, the Debtors request authority to use

the proceeds of post-petition accounts receivable and the cash on hand and in bank accounts to pay

all post-petition expenses of operation in the ordinary course of business and to make other

expenditures outside the ordinary course of business as may be authorized by this Court. A

preliminary budget is attached hereto as Exhibit “A”.

                                                   11.

          By filing the Motion, the Debtors propose that all legal and equitable rights, if any, of the

Debtors and SuperValu are preserved and deemed not waived, including, but not limited to:

(A)       The Debtors’ rights to seek a surcharge under 11 U.S.C. § 506(c);

(B)       The right of SuperValu to object to any future requests for authorization to use cash

collateral;




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(C)    The right of SuperValu to resist and defend against any attempts to seek a surcharge under

11 U.S.C. § 506(c) or to assert rights of setoff, compensation and/or recoupment under 11 U.S.C.

§ 553 or otherwise;

(D)    The Debtors’ rights to assert that the proceeds of all accounts receivable and the cash from

on hand and in bank accounts do not constitute “cash collateral” as defined in Section 363, and

that SuperValu is not entitled to adequate protection for the use thereof; and,

(E)    The Debtors’ rights under Sections 510, 544, 545, 547, 548, 549, 550, 551, and 552 of the

Bankruptcy Code to avoid and/or prime any lien of SuperValu on the proceeds of all accounts

receivable and the cash from on hand and in bank accounts.

                                                 12.

       Rule 4001(b)(2) provides that a bankruptcy court may conduct a hearing on a motion under

Section 363 of the Bankruptcy Code before expiration of a fourteen (14) day notice period as

described therein and may authorize the use of cash collateral to the extent necessary to avoid

immediate and irreparable harm to a debtor’s estate pending a final hearing (“Preliminary

Hearing”). Pending a final hearing on this Motion (which the Debtors request take place on or

before thirty (30) days from the Petition Date, subject to the Court’s availability), the Debtors must

use cash collateral to maintain their operations until such final hearing is actually conducted.

                                                 13.

       Accordingly, the Debtors request that the Court conduct an emergency interim hearing to

consider the Debtors’ request to use cash collateral.




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                                                14.

       The Debtors further propose that the Final Hearing be held on the Debtors’ request to use

cash which may be cash collateral at least fourteen (14) days after service of this Motion, at which

time the Debtors will ask the Court to consider entry of a final order. The Debtors submit that the

Court’s consideration of this Motion at an interim and final hearing held upon the notice proposed

herein is consistent and in accordance with the procedures set forth in Bankruptcy Rule 4001(b)

respecting the Debtors’ obtaining the use of cash collateral.

                                                15.

                                             NOTICE

       The Debtors also request this Court's approval of the form and manner of notice with

respect to the preliminary and final hearing on the Motion. Notice of the Preliminary Hearing and

the relief requested in the Motion has been given to (i) the Office of the United States Trustee;

(ii) SuperValu; (iii) all parties who have formally appeared and requested notice in this proceeding

pursuant to Bankruptcy Rule 2002; (iv) the twenty (20) largest unsecured creditors of the Debtors

on a consolidated basis; and, (v) the secured creditors of the Debtors on a consolidated basis. No

creditors' committee has been appointed in the Chapter 11 case. Under the circumstances, such

notice of the Preliminary Hearing and the relief requested in the Motion complies with the

requirements of Bankruptcy Code Section 364, 363 and Bankruptcy Rules 2002 and 4001.

                                                16.

       The Debtors propose to give at least fourteen (14) days advance notice of the hearing on

the Final Order (the "Final Hearing") on the parties served with notice of the Preliminary Hearing,

any other party which has filed a request for notice with this Court prior to the Preliminary Hearing




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and to counsel for any statutory committee appointed pursuant to Bankruptcy Code Section 1102.

Objections to entry of the Final Order shall be in writing and shall be filed with the Clerk of the

Bankruptcy Court with a copy contemporaneously served upon: (i) William E. Steffes and Barbara

B. Parsons, The Steffes Firm, LLC, 13702 Coursey Boulevard, Building 3, Baton Rouge,

Louisiana 70817, attorneys for the Debtors. Any objections by creditors or other parties in interest

to any of the provisions of the Final Order shall be deemed waived unless filed and served in

accordance with this paragraph. The Debtors submit that such service and notice of the Preliminary

Hearing and Final Hearing should be deemed good and sufficient.

       WHEREFORE, Debtors respectfully request that this Court (a) after expedited

consideration, enter an Interim Order as requested herein, (b) schedule a Final Hearing on the

Motion and a final date for filing objections thereto, (c) authorize the use of cash which may

constitute cash collateral and adequate protection for same retroactive to the Petition Date, (d)

approve the form and manner of notice set forth herein on the Preliminary Hearing and Final

Hearing on this Motion, (e) after the Final Hearing, enter a Final Order in a form substantially

identical to the Interim Order with respect to use of alleged cash collateral and adequate protection

for same, and (f) grant to Debtors such other and further relief as the Court deems just and proper.

                                                      Respectfully Submitted:

                                                      By: /s/ Barbara B. Parsons
                                                      William E. Steffes, #12426
                                                      Barbara B. Parsons, #28714
                                                      THE STEFFES FIRM, LLC
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                                         Email: bparsons@steffeslaw.com

                                         Proposed Counsel for the Debtors




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